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                                                                 U.S. Department of Justice


                                                                      United States Attorney
                                                                    Northern District of Ohio

                                                                         United States Court House
                                                               801 We t Superior Avenue, Suite 400
                                                                      Cleveland, Ohio 44113-1852
                                                                              Main: 216-622-3600
                                                                         Facsimile: 216-522-4982




                                                                           December 10, 2018

Gregory Brodersen

Medina, Ohio 44256

        Re: Subpoena in In re: National Prescription Opiate Litigation, MDL No. 2804
            (N.D. Ohio)

Dear Mr. Brodersen:

        You have been requested by counsel for defendants in the above captioned case to
appear at a deposition and testify regarding official Department of Justice information.
The Drug Enforcement Administration (DEA) was notified of this request and has stated
that it opposes the request. After reviewing the request, I have determined that you lack
personal knowledge regarding the requested testimony because you were never assigned
to the Summit County drug unit. Further, any relevant personal knowledge you have
would be cumulative with other witnesses who are being authorized to testify and/or
would be privileged. See, e.g., Un ited States v. Weischedel, 201 F. 3d 1250, 1255 (9th Cir.
2000) (affirming the denial of request to subpoena witnesses whose testimony, although
relevant, would be cumulative); see also Fed. R. Civ. P. 26(b)(2)(C). Therefore, I have
detern1ined that it would be inappropriate for you to testify regarding the requested topics.

       If you are asked to testify about official Department of Justice information in this
case, you should respectfully decline to answer and explain that 28 C.F.R. § 16.22(a)
precludes you from doing so. If you have any questions, please do not hesitate to contact
DEA Assistant Deputy Chief Counsel Sandra Stevens or Assistant U .S . Attorney James
Bennett (216-622-3988).



                                   A vROTELLUSTIN
                                   Executive Assistant United States Attorney
                                   Office of the United States Attorney
                                   Northern District of Ohio
                                   Acting Under Authority Conferred by 28 U .S .C. § 515

                                                                                        GOVERNMENT
                                                                                          EXHIBIT

                                                                                              E
